 Case 22-01465-JMC-13                 Doc 54-1      Filed 03/23/23         EOD 03/23/23 11:01:35              Pg 1 of 7




                                  LOAN MODIFICATION AGREEMENT

       TEIS LOAI\ MODInCATION AGREEIfiiNt (the "Agreenezl ") is made and entered into as of Thurrday,
March 2, 202ii, between ASO EQUIIY PARTIIERS, LLC (hereinafter the "Note Holdef),whose           address is P.O, Bor
420202, lrtlafia, GA 30342, and BARBARA L K[\8LEY AIrtD BRUCE A Ktr\cLEy (hereinafter the "Borrower(s)"),
whose address is 706 South Worth Ave, Indlanapolls, IN 46241 (collectively referred to hereitr as fte'Panies"). The
Modification is   as   follows:

                                                        RECITALS:

A, The Originator of this Note loaued $25,fi)0.00 to Borrower (the "troaz'), which was witlenced by a Note (the 'iYore')
dsted 08Y30/2006.

B. The Note is secured by a Deed ofTrust / Mortg8ge on the ploperty loc8ted at 706 South \ orth Avg Indlanapolls, IN
46241, Lot 178, which is recorded ia the official recortls of Mrrlon County, Indiana, on 09D112006, as InsfrumeDt
Number 2006014443E. (the"Deed ofTTust I Mongage"),

C. The Legal Description of the Property is legally described and refcre rced in the original De€d of Trust / Mortgage
mentiorcd above.

D. Note Holdsr is now thc owner of the Note and the Deed of Trust / Mortgage (collectively the "Loan Docaanentf), and
Borrower hcreby agrees that the Loan DocuDeDts are the only agrsernents snd dosuments now in effert \dth r€spect to
the Lom- Any other understandiags, loan agreements or arrangements, which may have existed pertaining to the Loar, are
hereby termirated.

E. The Parties havo agreed that Note Holder shsll retain Aom cxercising the rights and rcm€dies granted to it by the Iran
Documents, and instead, agree to modif the terms of Borower's obligations under the Loaa Documents pursusnt to the
terms aad conditions set forth in this Agre€Eenl

F. Pusuant to the mutual agreer:rent of the Parties to modiry the Loan Docunents, and      il
                                                                                           consideration of the prcmises,
oonditions aud terms set forth below, Note Holder has agreed to adjust the repqrmed terms of the Note, and the total
amoult due with respect to the Note. Note Holder has also agreed to reinstate thE Loan as curlent and not io default as of
the Bffeotive Date of this Agreement as fiuther oudiaed below.


                                             LOA]\ MODIF'ICATION

          NOW TEEREF'ORE, in consideration of   the foregoiag recitals which you agree !o be         tue   and corr€ct atrd a
part ofthis Agreemenl the Borrows and Note Holder agree as follows:

l. INCORPORATION OF RECITALS AND DEFINTIONS. Borrower and Note Holder hercby acloowledge the
accuracy of the foregoing Recitals as a substantive part of this Agreement. Excq)t as specifically defined herein, all
oapitalized terms used in the recitals and in the body of this Agreement shall have the defilitions ascribed therefore in the
Loan Documents.

2. YALIDITY Of Tm I{rAI\l DOCT MENTS. Except as expressly modified by this Agreemenq the t€rms and
conditions of the Loan Docum€rxts remain in ftrll force and effect and the Deed of Trust / Mortgage shall contiaue to
secure the Not€ and this Agreement.

3.   Tm   EFFECTIYE DAIE. Ttis Agreement will be effective on Fridav. March 10. 2023.


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Case 22-01465-JMC-13                    Doc 54-1       Filed 03/23/23      EOD 03/23/23 11:01:35              Pg 2 of 7



                                      LOAN MODTF'ICA                 ONAGREEMENT
4.                                                             . The obligations under the Loan Documents are modified        as
follows:
A.        New    Pinclpal Loan Bslance. Ttle New Principal Loan Balance now owed with respect to the Locn sbsll be
$72.032.45 and is comprised of the outstanding principal        b
                                                             arce of $22,275,76 as of the date of default on 07/0U2010,
plus the capitalized arrears of $491756,69 (the"New Inan Principal Balance').

C.  Frxed Interest.&are. From the Effective Date of this Agreemen! and oontinuing until maturity, the hterest ou the
"nlaid New Principal Loan Balance will accrue at a fixed annual rats equal to 6.664n/o.
D    ,   New   Monthly Loan Puyment. TheNew Monthly lnterBst OnIy Loan Payment amoun! will be $400.00.
B. Pcymml Term. The first New Monthly     Loan Paym.e,nt will be due ou Mliln023 with all subsequent Monthly Loan
Paym.enb due on the fust day of each month following this date and coatiouing tkough and including the Moturlly Dde
on 0401/2033 (the "Maturity Date'), when the re'nnining New Principal Loaa Balance, including any additional iateresl
charges, advances, aad other fees aJld costs related to the Loan which the Note Holdet has not yet coUecte4    will be due.
F. Ballma PslmenL          lls
                          final payment und€r this agreement shall be a balloon paymqt due on 090U2033, which is
Ten (10) Yearr ftom the eff€ctive dste of this Agreement. The balloon paymsnt shall be in the amormt of the remainiag
New Principal Loan balance under the Mortgagc.

G    .
    Late Charyes. In the event ttre New Monthly Loan Paym.ent has not been received within 15 days of the fust day of
the month when such New Loan Monthly Payment is due, Borrower agrees to pay a late charge of $17.00. See Ortglnal
Note:

5. @                                     In the event Borrower f&ils to obtain illsulance, the Note Holder shall be required
to force place insurance in, order to prot€ct its security interEst aod add any such amounts to the New Prinoipal Balance.
Additionally, Borrower releases the Note Holder from any liability in comection with said forccd placc insurancc being
inadequate as to the amount ofcoverage obhincd by the Notc Holder.


6.   reELP_IBEry:                There shall be no pr€payment penalty.


7.   ESqBgg.1!@g![:           Bonower is fudependantly responsible for the paymed of taxes and insurancc aud ir requircd
to pay both property  taxes a!.d insurance dircctly to the appropriate entities. However, if the Borower fails to keep current
and pay either ta:res or any type of insuranca required for the Property eithc by stat€ law or by the Note Hokler, then the
Note Holder may advaace these amounts to protect its sesurity ilterest and if necessary, insrease the amount of the New
Priacipal Balance or may declare a default under the ierms ofthis Modification.

8. INSIIRANCE REOIJIREMENTS: The insurance carrier providing the insurance shall be chosen by Borrower subject
to the Note Holder's approval which shall not be unreasonably witbleld. All insurance policies and renewals shall contair
the Notc Holder's loan number and include a standard mortgagee clause for the benefit of:


                                                ASO EQUITY PARI}IERS,         LLC
                                              IZf, SUCCES.'ONS AND/OR ASSIGNS
                                              P.O. Bor 420202, Adanta, GA 30342
                                                     PEO|IE: (800) 909-7030

9. ADDITIONAL EVENTS OF DEFAULT: Without limiting the other events of default set forth in the Loan
Documents, Borrowa will be in default under this Agreement aud und€r the Loan Documents upon the occurrence of
aryone (1) or more ofthese events:


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Case 22-01465-JMC-13                Doc 54-1        Filed 03/23/23           EOD 03/23/23 11:01:35            Pg 3 of 7



                                  LOAII MODIFICATION AGREEMENT
        A.      Any material representation or waranty made by Borrower in the Loan Documents, rhis Agr€emonq or
                any initial agreement proves to be frlse or misleading in any respect.


        B.      Borrower fails to make the New Monthly Payment          as required by   this Agreement.

        c.      Borrower sells or conveys eny interest in the Properly without ths Note Holder's prior written con8ent.

        D.      Breach of any of the terms or provhion8 ofthis Agreement.

        E.      Borrower fails to pay taxes or fails to pay insurance



10. CONSEOUENCES OF DEFAIILT: If Borrower defaults under this Agreement or the Loan Documeats after the
Effective Date ('?e/ault''), the Note Holder shall send written notice informing Bonower of a default and give Borrower
thirty (30) days to oue such default. In the event Borrower fails to cur€ the de&ult \ilhi[.the thirty (30) days cxtre peiod,
then tho Note Holder man i:r atldition to the remedies provided by the Loan Documeirts, subject only to applicable law,
institute any foreclosure or collection proceedings without prejudice for having accept(d any payments, including, but not
limited to, the New Monthly Paymeab, under this Agreement and exercise any of its rights and remedies against
Borrower under the Loar. Documents ard/or this Agreqaent.

11. REPRESENTATIONS           AllD WARRANTIES: As             a material condition to the Note Holder's willingness to eEter
into this Agreement, Borower rq)resents and warrants the following faots:

A.   That Borrower is indebted to the Note Holder pursuant to the tcrms ofthe Loan Documents and this Agreoment, thst
thc total amormt owed is accurately set forth itr this Agreement, and that Borrower has no claims, actions, causes of
action, statr,rte of limitationr or other defenses, courtelclaims, fi setoffs of sny kind, including any claims pusuant to thc
Federal Truth in Lending Act ("FTLA"), which Borrowsr csn assert against the Note Holdei ia connection with the
rnnLing, closing, administration, collectiou or enforcement by the Note Holder ofthe Loan Documents, tiis Agreement or
any rElated agreement at aDy time, past, prcsert or futurc.


B.    Borrower represe[ts and wsrraaE that they have no present intention to file additional bankruptcy proceeding any
ti:ne after the Effective Datc and that they beliwe thc terms of this Agre€me are suficient to allow Borrower to comply
with their obligations lmder thc Loan Documents aad this Agreeme .

C.   Borrower rqlresents and warratrts that all material statem€dts Borrower has made to the Not€ Holder, whether wrifretr
or oral, all finsnsisl idsrmstion and r€leas€s Borrower has provided to the Note Holder regarding Borrower or the
Property, and all information provided pursuant to any initial age€,ment Borrower may have signed with the Note Holder,
rsmain valid and w€re tust as ofthe date made and as ofths Effective Date.

D.   Borrower urderstands that this Agreenrent is legally biading aod that it affects Borrower's rights, Bonower has
obtained, or has had the opporturdty to obtain, independent legal counsel concerning the meaning and imJ'ortance of this
Agr€cment. Borrower fi:rther rq[essnts and warranls that he or she is signing this Agreement voluntarily and with firll
understinding of its cont€nts ard meaning,

12. BORROWER'S RELEASE OF TEE NOTE HOLDER: Itr the evetrl that Borrower has aay olaims, actions or
carses ofactioa, statute of limitations or other defenses, counterclaims or setoffs of any kind which exist as ofthe date of
thfu Agreemert, *0",6er 1ro*, 61
                                     "nknown to Bonower, which Borrower now or hereafter may ass€rt against the Note
Holder in connection with the mrlcing, closing administration, collection or the enforcement by the Note Holder of the
                                                     Pase 3 of 7
Case 22-01465-JMC-13                Doc 54-1        Filed 03/23/23         EOD 03/23/23 11:01:35              Pg 4 of 7




                                  LOAI\I MODIFICATION AGREEMENT
Loan Doouments, thi8 Agre€ment or any other related agreem€nts, then by exeouting this AgrEement Bolower forever
irrevocably waives and relinquishes   thu.

13, rINAL AGREEMENT: This Agreement may not be supplemented, ohanged, waived discharged, elir:rinated,
modified and / or omitted exc€pt by s,ritten document executed by both Borrower and the Note Holder. This Agreement
coDstitutes the entire sgr€€roent betweetr Bolrower and the Note Holder, and supersedes all previous negotiations and
discussions between Bo[ower, the Note Holder an<Vor the Note Holder predecessore in interest and nei&er prole
evidence nor any prior or other agreernent shall be permitted to contadict or vary its terms. Th€re are no promises, terms,
conditions and / or obligatioos other than those contained in this Agreement.

 14.  NQ_WN:             Borrower expressly agrees that this Agteement is not a new loan ftom the Note Holder, but simply
the modification of Borrower's existing obligations under the Loao Docume s, Neither Borrower nor the Note Holder
has any intetrtion to extinguish or discharge the indebtednass or the liens evidenced by the Loan Documenb.


15. IJSUWIAIEE.                        Notwitbstanding anything to the contrary contained elsewhere in this Agreemen!
Borrower and the Note Holder hereby agree that all agreements between them rmder this Agrecment and with respect to
the Loan, whether now existing or hereafter arisi:rg and whether vnitten or oral, are expressly limited so that in ao
contingency or event whatsoever shall the amount psi4 or agreed to be paid, to the Notc Holdcr for the use, forbearance,
or detention of the money loaned to Borrower, or for the performance or paymed of any covenant or obligation contained
herein or therein, exceed the maxirnum rate of intor€st uader applicable bw (the "Maximum Rate"). If ftom any
circumstance whatsoever, fi,rlfrllnent of aoy provisiors of this Agreemcnt at tle time performance of suoh provisions shall
be due shell involve banscending the limit olvalidity presoribed by law, then, automatically, the obligation to be fulfilled
shall be reduced to the limit of suoh validity, and if aom any such circumstance the Noro Holder should ever receive
anything ofvelue deemed interest by applicable law which would exceed the Maximum Rate, such excessive interest shall
be applied to thc reductioa ofthe principal amount owing with respect to ttre Loan or on accouat ofthe other indebtedness
secured by the Loa:r Documents and not to the payment of interest, or if such excessive interest exceeds 1trs .',naid
principal balanoe of the Loan and such other indebtedness, such excess sball be refirnded to Borrower. All sums paid or
agr€ed to be paid to the Note Holder for the use, forbearance, or dctention   ofthe Loaa and other indebtedness ofBorrower
to the Note I{older shall, to the extent permited by applicable law, be amortized prorate4 allocated and spread
thro.elout ttre full term of such indebterlness until payment ir ftU so that the achul rate ofinterest on account of all such
indebtedness is uniform throughout tie actual term of the Loan or does not exceed the Maximum Rate thrcughout the
entire term ofthe Loan, as appropriate. The terms and provisions of this Paragraph 13 shall conhol every other provision
of this Agreement and all other agreemenh between Borrower and the Note Holdor.

16.CHOICE OF LAW AND SEYERABILITY: This Agreeme,nt shall be govemed by and construed rmder the laws of
theIndiane. If any portior, term, or provisiou of this Agleement is held by a court of competent jurisdiction to be illegal
or in coaflict with suoh law, the validity of the remainiag ponions, terms or provisions of this Agreement shall not be
affected, and the righb and obligations ofthe Parties shall be construed and eDforced as if this Agreement did not conliict
with such law and/or did not contain the portion, term or provision held to be invalid-

17. SUCCryBS: Tlds AgreemEot sball biod the Parties' respeotive successon, 655i$s, hets, and personal
rqneseotatives. This Agreoment shall not be understood to limit itr any way the right of the Note Eolder to sell, cr
otherwise oonven any interest in the subject obligation to another, provided that such subsequent party in inGrest is &Iso
bound as the Note Holder to thc terms of this Agre€m€nt.




                                                        Prse 4 of 7
Case 22-01465-JMC-13                 Doc 54-1       Filed 03/23/23        EOD 03/23/23 11:01:35                  Pg 5 of 7



                                  LOAN MODIFICATION AGRT,EMENT
18.   REf,ERENCES: All references to tho singular shall inolude the piural and all references to one   (l)   gender herein shall
include both genders.


19. E)GCUTED         IN COUNTERPARTS: This Agreement may be executed in              counterparts, each of which shall be
deemed an original, but all ofwhich together shall constitute one (1) and the same document.


20. NO TRIAL BY JURY: By exeouting this Agre8men! Borrower irrevocably waives all rights to tisl by jury h any
action, proceeding or couflterclaim arising out of or relating to this Agreement and any related agleement or documents
or hansactions contemplaled in this Agreement.


21. PAYMENT INSTRUCTIONS: AIl paym.erts, unless you are notified by the Note               Holdc in vriting of a different
ad&ess, shall be made to the


                                             FCI Lender Services, Inc.
                                             Attn: Loan Servicing Dept,
                                   P.O. Bor 27370, Anshgin HlIIr, CA 92809-0112
                                         Qt4) 282-U24 | www.trustfcl.com
                                          Borrower's Loan #: 9160069032

22.   EI!gES:      @SS!4-be             setrt to:


          Il to the Note Holder           ASO EQUITY PARTNERS,             LLC
                                          P.O, Bor 420202
                                          Atlantq GA 30342

          ll   to the Bonowert            Barbara L Kimbley and Bruce A Kimbley
                                          706 South Worth Ave
                                          Indianapolls, IN 46241

23. TIME IS OX' TE[' ESSENCE: Time, and the Note Holder's security interest in the Propedy, shall be of the essence
as to Borrower's obligations unda this Agreement.


24. AMEI\DMENTS. This Agreement may not be amended or modilied orally, and no provision of this Agreexnent may
be waive.d or amended except in a writing signed by the Bonower and the Note Holder.


25. FI]LL FORCE AllD EFtr'ECT. Borrower hereby ratifies and confirms in a1l respects and without condition, all the
terms and provisions ofthe Loan Documents, as modified herein, and agrees that said terms a:d provisions, except to the
exteat expressly modified herein, continues in firll force and effect.




                                                        Pase 5 of 7
Case 22-01465-JMC-13         Doc 54-1       Filed 03/23/23        EOD 03/23/23 11:01:35        Pg 6 of 7




                           LOAII MODIFTCATION AGREEMENT
* LOANMODIFICATION INF'ORMATION                                  &IN STRUCTIONS:
Plesse send bsck the followinp Loan Modification Panerwork      & Dowtr Pavment on or before   03/2112023

       1) A Fully Executed Loan Modiffcedon.
       2) A Copy of the Borrower's Driver's Llcense.
       3) A Fully Executed Homeowners Insurance Iuformafon Form, with         a Copy of the Eomeowner's
          Insurance Pollcy's Declarrdon's Page.

       4) A Fully Erecuted W-9 Form for all Borrowers.
       5) A Fully Erecuted Loan Serviclng ACE Monthly Loan Pqyment Form, please       include a Yoid
          Check. This ls for the Monthly Loan Payments strrting on 0410112023. Borrowers cgn choose
          any day from the l't through the 10e ofthe month. Borrower's FCI Loan # -9160069032

   F   Please send back the Loan   Modilicrfion Paperwork to tle followlne address:
             r   Attn: DJ OloJo
             o   ASOEQIIITYPARTNERS,LLC
             o   P.O. Box 420202, Atlanta, GA 30342

          *@
            .    FCI Lender SeMces, Inc.
            o    Attn: Loan Servicing Deparfuent
            r    P.O. Box 27370, Anahelm HlIIs, CA 92E09-0112




                                              P                   LLC
                                                             ( .,\-

       Name / Iifle: ASO Eouitv              LLC


             Date:    7-21 -:cr23



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Case 22-01465-JMC-13                Doc 54-1     Filed 03/23/23             EOD 03/23/23 11:01:35      Pg 7 of 7



                               LOAN MODIFICATION AGREEMENT



        IN WTrI\IESS WEEREOF, the Borrower has executed this Agreenent otr the date set forth opposite his, her or
its name below. The undersigned hereby certiff that they have read and firlly understand all tle terms, provisions and
conditions of this Agreement and have executed this AgrEemrent voluntarily. Orly the Borrower needs to have their
signahre notarized.




Borrower: Barbara L Kimblev and Bruce A Kimblev


Signahue    &^/,,                                        Signahre:


Name (printed):                  L                         ame (printed):


Date:                                                    Date:       4q-0, / -,il/)      4g-
STATE OF              l^oro^^                       )
                                        )                ss.
COT NTY      OF         l\aruto.t                   )

On             tcx L                             before me, the uadersigned, a Notary Public in and for said
State, duly commissioned and sworn, personally appeared l5arAqc^                   *
                                                                              ba-oc1 ll tn IS;E l
personally known to me (or proved to me on the basis of satisfactory evidence) to be the person who executed
the within instsument and acknowledged to      oe that he,/she executed the same in his/trer authorized capacity, and
that by   hiVho signature otr the instrumeut, the   person, or the entity upon behalf of which the person acted,
executed the instnunent.


WITNESS my hand and official seal.



        C;
NOTARYPUBLIC




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